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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN RE:                                :
DANA MICHELLE VALORIE CALHOUN         : CHAPTER 13
                                      : CASE NO. 18-60054
                                      :
          Debtor                      : JUDGE PAUL BAISIER
                                      :


  OBJECTION OF PRESTIGE FINANCIAL SERVICES, INC. TO CONFIRMATION
                              OF PLAN

      COMES NOW Prestige Financial Services, Inc. (“Prestige

Financial”) a secured creditor in the above—styled bankruptcy

case, and files this Objection to Confirmation of Debtor's

Chapter 13 Plan (the “Plan”), showing this Court the following:

                                       1.

      The Plan fails to comply with 11 U.S.C. § 1325(a)(5) since

it does not provide Prestige Financial with the value, as of the

effective date of the Plan, of its allowed secured claim.

Prestige Financial is the holder of a purchase money security

interest in a 2010 Dodge Journey, and timely filed a proof of

claim for the secured amount of $7,443.30. The Chapter 13 Plan

proposes to pay Prestige Financial’s claim with a value of

$3,500.00at 5.5% interest with payments of $75.00 per month.

                                       2.

       Prestige Financial is entitled to the replacement value of

the vehicle securing its claim.         The replacement value is

$6,000.00 according to the applicable NADA guide. A copy of the
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NADA is attached as Exhibit.

                                       3.

      The rate of interest proposed for Prestige Financial's

secured claim does not comply with Till v. SCS Credit Corp., 541

U.S. 465 (2004). Prestige Financial should be entitled to have

its claim paid with interest set at the prime rate plus 1 – 3

percent for risk, or in this case at least 6 percent interest.

                                       4.

      Debtor’s proposed Chapter 13 plan does not meet the

requirements of 11 U.S.C. Section 1325 (a)(1) in that it does

not provide adequate protection for Prestige Financial's

interest pursuant to 11 U.S.C. Section 361.

      WHEREFORE, Prestige Financial prays as follows:

      (a)   That the Debtor's Plan be denied confirmation;

      (b)   That the Debtor be denied additional time to file an

additional Plan or a modification of the Plan;

      (c)   That Prestige Financial be granted such other and

further relief as this court deems just and proper under the

circumstances.

                                   EVANS PETREE, PC

                             By:___/s/Robert J. Fehse_________
                                Robert J. Fehse
                                Georgia State Bar No. 758817
                                 Attorneys for Prestige Financial
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have caused a copy of the foregoing

OBJECTION OF PRESTIGE FINANCIAL SERVICES, INC. TO CONFIRMATION

OF PLAN to be served upon all parties in this matter by either

electronic notification or deposit of the document in the United

States mail with sufficient postage affixed for delivery,

addressed to:


                            Melissa J. Davey
                           Chapter 13 Trustee
                      260 Peachtree St NW, Ste 200
                           Atlanta, GA 30303

                            Howard P. Slomka
                       Overlook III - Suite 1700
                        2859 Paces Ferry Rd, SE
                           Atlanta, GA 30309

                     Dana Michelle Valorie Calhoun
                       6980 Roswell Road, Unit M6
                           Atlanta, GA 30328


         This 26th day of June, 2018



                                                 /s/ Robert J. Fehse
                                                 _______________________
                                                 Robert J. Fehse, Esq.
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